Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 1 of 19




                     EXHIBIT 1
 Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 2 of 19

                                                                         Service of Process
                                                                         Transmittal
                                                                         12/04/2020
                                                                         CT Log Number 538698823
TO:      Kim Lundy Service Of Process
         Walmart Inc.
         702 SW 8TH ST
         BENTONVILLE, AR 72716-6209

RE:      Process Served in Texas

FOR:     Wal-Mart Associates, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                   Mendiola Lazaro, Pltf. vs. Wal-Mart Associates, Inc, etc., Dft.
                                   Name discrepancy noted.
DOCUMENT(S) SERVED:                Letter, Citation, Attachment(s), Petition
COURT/AGENCY:                      County Court at Law No. 8 Hidalgo County, TX
                                   Case # CL204222H
NATURE OF ACTION:                  Personal Injury - Slip/Trip and Fall - 11/26/2019 - 1006 N Bryan Road, Mission
                                   Hidalgo County, Texas 78572
ON WHOM PROCESS WAS SERVED:        C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:          By Certified Mail on 12/04/2020 postmarked on 12/01/2020
JURISDICTION SERVED :              Texas
APPEARANCE OR ANSWER DUE:          By 10:00 a.m. on the Monday next following the expiration of 20 days after service
ATTORNEY(S) / SENDER(S):           Christopher Ray Sanchez
                                   Law Offices of Chris Sanchez, P.C.
                                   104 S 23rd Street
                                   McAllen, TX 78501
                                   956-686-4357
ACTION ITEMS:                      CT has retained the current log, Retain Date: 12/05/2020, Expected Purge Date:
                                   12/10/2020

                                   Image SOP

                                   Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

SIGNED:                            C T Corporation System
ADDRESS:                           1999 Bryan St Ste 900
                                   Dallas, TX 75201-3140
For Questions:                     877-564-7529
                                   MajorAccountTeam2@wolterskluwer.com




                                                                         Page 1 of 1 / DP
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
                                       Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSDneoposet
                                                                                                  Page 3 of 19 FIRST-CLASS MAIL
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• Secretary of State
  Service of Process
  P.O. Box 12079
  Austin, Texas 78711-2079
                                I1I 1 1 II          I1
                                 7190 1046 4701 0124 7046
 Return Receipt(Electronic)




 .201323156-1

 Wal-Mart Assoicates, Inc.
 CT Corporation System, registered agent
 1999 Bryan Suite 900
 Dallas, TX 75201




                                               CUT/FOLD HERE
           Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 5 of 19

                                       The State of Texas

     Service of Process                                                             Phone: 512-463-5560
     P.O. Box 12079                                                                    Fax: 512-463-0873
     Austin, Texas 78711-2079                                               Dial 7-1-1 For Relay Services
                                                                                    www.sos.texas.gov


                                            Ruth R. Hughs
                                           Secretary of State


     December 1, 2020                                                        2021-323156-1

                                                                        Include reference number
     Wal-Mart Assoicates, Inc.                                            in all correspondence
     CT Corporation System, registered agent
     1999 Bryan Suite 900
     Dallas, TX 75201


     RE:       Lazar° Mendiola vs Wal-Mart Associates, Inc.
               139th Judicial District Court Of Hidalgo County, Texas
               Cause No. CL204222H




     Dear Sir/Madam,

•    Pursuant to the Laws of Texas, we forward herewith by CERTIFIED MAIL, return receipt
     requested, a copy of the process received by the Secretary of State of the State of Texas on
     November 23, 2020.

     CERTIFIED MAIL #71901046470101247046

     Refer correspondence to:

      Chris Sanchez
      Law Office of Chris Sanchez PC
      104 S. 23rd Street
    , McAllen, TX 78501

    'Sincerely,

      Service of Process
      Government Filings
    • 512-463-1662
      GF/mo
    . Enclosure
       Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 6 of 19                           Electronically Subr
                                                                                                           1 1/19/2020 10:4
                                                                                                           Hidalgo County
                                                                                                  Accepted by: Aurelio Ale
                                           CAUSE NO.CL-20-4222-H
THE STATE OF TEXAS
COUNTY OF HIDALGO


 NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do
not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the
expiration of twenty (20) days after you were served this citation and petition, a default judgment may be taken
against you."

     To:    WAL-MART ASSOCIATES,INC.
            MAY BE SERVED THROUGH ITS REGISTERED AGENT
            CT CORPORATION SYSTEM
            1999 BRYAN STREET SUITE 900 DALLAS TX 75201

GREETINGS: You are commanded to appear by filing a written answer to the Plaintiff's petition at or before 10
o'clock A.M. on or before the Monday next after the expiration of twenty (20) days after the date of service
hereof, before the Honorable County Court At Law #8 of Hidalgo County, Texas, by and through the Hidalgo
County Clerk at 100 N. Closner, First Floor, Edinburg, Texas 78539.

Said Plaintiff's Petition was filed in said Court, on the 17th day of November, 2020 in this Cause Numbered CL-
20-4222-H on the docket of said Court, and styled,

                                          LAZARO MENDIOLA
                                                 vs.
                                       WAL-MART ASSOCIATES,INC.

The nature of Plaintiff's demand is fully shown by a true and correct copy of Plaintiff's Original Petition With
Discovery Request accompanying this Citation and made a part hereof

NAME & ADDRESS OF ATTORNEY FOR PLAINTIFF:
  CHRISTOPHER RAY SANCHEZ
  104 S 23RD STREET
  MCALLEN TX 78501

The officer executing this citation shall Promptly serve the same according to requirements of law, and the
mandates hereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT,at Edinburg, Texas this 19th day of
November, 2020.

                                                          ARTURO GUAJARDO,JR.
                                                          COUNTY CLERK, HIDALGO COUNTY,TEXAS
                                                          100 N. CLOSNER
                                                          EDINBURG,TEXAS 78539
                                                          COUNTY COURT AT LAW #8
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      SECRETARY OF STATE                                 BY        1(.(/1-69 ita"   { 1                  DEPUTY
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        Service of Process

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         Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 7 of 19                                        Electronically Subn
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                                                                                                                          Hidalgo County
                                                                                                                 Accepted by: Aurelio Ale
SHERIFF'S/CONSTABLE'S/CIVIL PROCESS

SHERIFF'S RETURN
        Came to hand on the             day of                                ,20           ,at               o'clock
M., by Deputy (Sheriff/Constable)/Civil Process Server and to-wit the following:

DEFENDANT SERVED

          Service was EXECUTED on the above referenced Defendant, in person, in Hidalgo County, Texas and served with
a true copy of this Citation, with the date of delivery endorsed thereon, together with the accompanying copy of the
Plaintiff's Petition, at the following
Date, time, and place, to-wit:

         NAME                               DATE                TIME              PLACE


         By:                                                               By:
                  CIVIL PROCESS SERVER                                              DEPUTY SHER1FF/CONSTABLE

DEFENDANT NOT SERVED
          Service was ATTEMPTED at the above address on the above referenced Defendant on the following date(s) and
time(s), but to no avail:

         NAME                            DATE                  TIME                 PLACE

         NAME                            DATE                  TIME                 PLACE

         NAME                            DATE                  TIME                 PLACE


         By;                                                      By:
                  CIVIL PROCESS SERVER                                     DEPUTY SHERIFF/CONSTABLE


                           COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,
                                        CONSTABLE OR CLERK OF THE COURT
In accordance to rule 107, the officer or authorized person who serves or attempts to serve a citation must sign the return. If
the return is signed by a person other than a sheriff, constable or the clerk of the court, the return must either be verified or be
signed under the penalty of perjury. A return signed under penalty of perjury must contain the statement below in
substantially the following form:

"My name is                                      my date of birth is                         and my address is

                                           . I declare under penalty of perjury that the foregoing is true and correct

EXECUTED in                        County, state of Texas, on ihe       day of             , 20



DECLARANT


If Certified by the Supreme Court of Texas
Date of Expiration /SCH Number
                                                                                              Electronically Submitted
  Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 8 of 19
                                                                      1 1/17/2020 9:59 AM
                                                                                               Hidalgo County Clerk
                                                                                       Accepted by: Daniela Blanco
                                        CL-20-4222-H


                            CAUSE NUMBER:

LAZAR° MENDIOLA                             §               IN THE COUNTY COURT
Plaintiff


                                                            AT LAW
WAL-MART ASSOCIATES,INC
DiBIA VVAL-MART NEIGHBORHOOD §
MARKET
Defendant                    §                              HIDALGO COUNTY,TEXAS

         PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERyltiDUEST

TO TIA_JEIONORABLE JUDGE OF SAID COURT:

        COMES, NOW,'Plaintiff LAZAR° MENDIOLA,, and files this, his Plaintiff's Original.
Petition, complaining ofand about Defendant WAL-MART ASSOCIATES,INC 01.13/A WAL-
MART NEOHBORHOOD MARKET, and for cause of action would respectfully show the
Court and jury the following:

                          DISCOVERY CON'tROL PLAN ENVEL

       Plaintiff intends that discovety be conducted under Discovery Level 2.

                                  PARTTLES AND SERV-10::

                Lamm Mendiola, is an Individual whose address is 922 Matamoros Street,
Mission, Hidalgo, County, Texas.

       Defendant, Wal-Mart A_ssociates, Inc dibia Wal-Mart Neig-hborhood Marker is a Texas
corporation whose registered office is 1999 Bryan Street, Suite 900, Dallas, Dallas County,
Texas 75201, may be served with process by serving its registered agent for service of process C
T Corporation System at 1999 Bryan Street, Suite 900, Dallas„ Dallas County, Texas 75201.
Service of said Defendant as described above can be effectuated by the Texas Secretary ofState.

                                JURISDICTION AND'VENUE

       The subject matter in controversy is within the jurisdictional limits of this court.

      This court has jurisdiction over the parties because the Defendant's corporation conducts
businem in Texas,therefore, Defendant can sue and be sued in Texas.
                                                                                                Electronically Submitted
    Case 7:21-cv-00086 Document 1-2 Filed on 03/08/21 in TXSD Page 9 of 19
                                                                         1 1/17/2020 9:59 AM
                                                                                                   Hidalgo County Clerk
                                                                                          Accepted by: Daniela Blanco
                                            CL-20-4222-H

          Venue in Hidalgo. County is proper in this cause under Section 15.0020)(1)of the Texas
  Civil Practice and Remedies Codc because all or a substantial part of the events or OltiliSSiOrtS
  giving rise to this lawsuit occurred in Hidalgo County„ Texas.

                                                FACTS

           On November .26, 2019, at Wal-Mart Neighborhood Market, located on 1006 N Bryan
  Road, Mission Hidalgo County, Texas 78572, Plaintiff .Lazaro Mendiola violently tripped and.
  fell. with a curs located in the center of a parking lot on Defendant Wal-Mart Associates, Inc
  dibia Wal-Mart Neighborhood Market's premises, resulting.in serio. tts bodily injuries to Plaintiff,
  Plaintiff Lama Mendiola tripped and fell due to a problematic and dangerous parking lot floor
  and this was Defendant Wal-Mart, Inc .clibia Wal-Mart. "Neighborhood Market's negligence,
   which caused Plaintiff to trip and fall., and Defendant's negligence was the causcin-faet and.
  .proximate cause of the Plaintiff's damages—medical bills and expenses,

     PREMISES_LIABRITY OF DEFENDANT WALAIART ASSOCIATE&INC D/B/A
                   WAL-MART NEIG1-WM.100D MARICEJ

          At all times material hereto, Defendant was the possessor in control of the premises
  located,at 1006 N Bryan Road, Mission Hidalgo County,Texas 78572.

        Plaintiff entered Defendant's premises with Defendant's knowledge and for their mutual
benefit Plaintiff, 1.,twiro Mendiola entered upon said premises for the purpose of shopping for
'household goods" and/or groceries. He entered on the said property of Defendant at. the
invitation of Defendant to engage in the Aa of shopping for "household goods "and/or other
grocerics.

          A condition on Dekndant's premises posed an unreasonable risk of harm. During the.
  time that Plaintiff was upon Defendant's property, Plaintiff was seriously injured as a molt of a
  dangerous condition in that Defendant permitted .the area where .Plaintiff fell. to 'becomv.
  dangerous by having the floor in an .unsaft condition with a curb 'located, in the center of.a
  parking lot on Defendant's premises, Plaintiff was walking on Defendant's premises, when
  suddenly and without warning Plaintiff tripped .and fell on a curb located in the center of a.
  parking lot on the premises;Plaintifffell forward causing him to land on his knees and ankle as a
  result of the unsafe condition.

          Defendant. Defendant's agents, senrants, and employees negligently permitted. the area
   where Plaintiff fell to become dangemns by failing to correct or remove a curb located in the
   center of a parking lot on Defendant's premises,.negliRently or willfully allowed such condition
   to continue and negligently or willfully failed to warn Plaintiff ofthe condition of the. floor. This
   condition existed despite the tact that Defendant or Defendant's agents knew or should have
   known ofthe existence ofthe aforementioned condition and that there was likelihood of a person
   being injured as occurred to Plaintiff.

          Furthermore, Plaintiff would show the court that the condition of the floor had continued
   for such period that had Defendant or Defendant's agents exercised ordinary care in the
                                                                                              Electronically Submitted
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                                                                                                Hidalgo County Clerk
                                                                                       Accepted by: Daniela Blanco
                                         CL-20-4222-H

maintenance of the area, it would have been,noticed and corrected or removed by such persons.

        At all times pertinent herein, Defendant, and any of Defendanris agents, who were acting
in the scope of their employment, were guilty of negligent conduct toward the Plaintiff in:.


       A.      Failing to correct or remove the curb located in the center of a. parking lot on
               Defendant's premises;
       B.      Failing to properly inspect and maintain the flooring area in question to discover
               the dangerous condition;
       C.      Failing to discover and remove the curb located in the center of a parking, lot on
               Defendant's premises; within a reasonable time;
       I).     Failing to maintain the floor in a reasonably safe condition;
       E.      Failing,to give warnings to Plaintiff ofthe unsafe condition; and
       F.      Failing to give adequate and understandable warnings to Plaintiff of the unsafe
               condition ofthe:flooring area,

                                     PROXIM              USE

        Each and every, all and singular of the fOregoing acts and omissions, on the part of
Defendant, taken separately and/or collectively, constitute a direct and proximate cause of the
injuries and damages set forth below.

                                   EXEMPLARY DAMAGES

        Defendants acts or omissions described above, when viewed from the standpoint of
Defendant Wal-Mart Associates, Inc dibla Wal-MartNeighborhood Market at the time of the act
or .omission, involved an extreme degree of risk, considering the probability and magnitude of
the potential harm to Plaintiff and others,. Defendant Wal-Mart Associates, Inc d/b/a Wal-Mart
Neighborhood Market had actual subjective awareness of the risk involved in the above
described acts or omissions, bm nevertheless proceeded with conscious indifference to the rights,
safety, and/or welfare of Plaintiff and others,

                                 RAMAGES fORYLAINTIFP

        As a direct and proximate result of the occurrence made the basis of this lawsuit, and
 Defendant's acts as described herein, Plaintiff was caused to suffer serious injuries, and to endure
 anxiety, pain, and discomfort resulting in damages more fully set forth below.

        As a direct and proximate result of the occurrence made the basis of this lawsuit., Plaintiff
 has.incurred the following damages:

        A.      Reasonable medical care and expenses in the past. These expenses were incurred
        by Plaintiff for the nece ry care and treatment of the injuries resulting from the accident
        complained of herein and such charges are reasonable and were usual and customary
        charges for such services in Hidalgo County.Texas;
                                                                                          Electronically Submitted
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                                                                                             Hidalgo County Clerk
                                                                                    Accepted by: Daniela Blanco
                                        CL-20-4222-H


      B.     Reasonable and necessary medical tare and expenses which will, in all reasonable
      probability, be incurred in the future;

      C.      Physical pain and suffering in the past;

      D.      Mental anguish in the past;

      E.      Physical pain and suffering in the future:

       F.     Mental anguish in the future;
       G.     Physical impairment in the past;

      H.      Physical impairment which, in all reasonable probability, will be suffered in the
      future;

       I.     Loss of Consortium in the past, including damages to the family relationship ba
       ofcare, comfOrt, solace, companio.nship,.protection,,services, and/or physical relations;

       J.      Loss of Consortium in the future including damages to the family relationship,
       loss of care, comfort, solace, companionship, protection, services, and/or physical
       relations;

       K,     Loss of Household Services in the past;

       L      ilkss of Household Services in the future;

       M.      Disfigurement in the past; and

       N.      Disfigurement in the •future

        By reason of the above damages, Plaintiff Lamm) Mendiola has been damaged in an
amount in,excess ofthe minimal jurisdictional limits of this Court. Plaintiffseeks monetary relief
of $74,999.99(Seventy-four thousand nine hundred and. ninety nine dollars and ninety-nine
cents) unless so round by a jury of their peers, exclusive of statutory damages, pre- and post--
judgment interest, costs of Court, attorney fees, as well as any other relief Plaintiff may be
entitled to at law or in equity.

                               RE
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                                   ,_110.
                                     FO                      HM

       Pursuant to Rule 194, Defendant is requested to disclose. within 50 days ofservice of this
request„ the information or materials described in Rule 194.2(a) —(1).

                                    ji lgMVERY RROULST

       Plaintiff serves these Interrogatories, Requests for Production, and Request for
                                                                                           Electronically Submitted
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                                                                     1 1/17/2020 9:59 AM
                                                                                              Hidalgo County Clerk
                                                                                     Accepted by: Daniela Blanco
                                       CL-20-4222-H

Admissions on Defendant, as allowed by Texas Rule of Civil Procedure 196-198, Within ao
days after service Defendant must:

            a) answer each interrogatory separately,fully, in writing, and under oath;
             b) produce all requested documents (as they are kept in the ordinary course of
                   business or organized and labeled to correspond with categories in each
                   request) for inspection and copying at the office of the undersigned attorney;
                   and
               , , admit or deny each request for admission.
             t.)

                                      INSTRUCTIONS

      For any requested information about a document that no longer             Or •cannot be
located, identify the document, state how and when it passed out of existence or when it
could no longer be located, and give the reasons for the disappearance, Also, identify each
person having knowledge about the disposition or loss, and identify each document
evi4iericing the existence or nonexistence ofeach docament that cannot be located,

          DEFINITIONS FOR ALL REQUESTS AND INTERROGATORIES

     "Plaintiff' or "Defendant," as .well as a patty's full, or abbreviated name or a pronoun.
     referring to a party, -means the party, and when applicable, the party's agents,
     representatives, officers, directors, employees, partners, corporate agents, subsidiaries,
     affiliates, or any other person acting in concert with the party or under the party's control,
      whether directly or indirectly, including any attorney.

  2, "You" or "your" means the named 'Defendant, his/her/its .successors predecessors,
     divisions, subsidiaries, present or former officers, agents, employees, and all other
     persons acting on behalf of Defendant or hisftkrfits successors,. predecessors, divisions,
     and subsidiaries.

  3, ".Docurnera" means all written, typed,. or .printed matter and all magnetic, electronic, or
     other records Or documentation of any. kind or description in your actual possession,
     custody, or control, including those in the possession, custody, or control of any and all
     present or former directors, .oliicers, employees, consultants, accountants, attorneys, or
     other agents, Whether or not prepared by you, the constitute or contain matters relevant to
     the subject matter of the action,".Document'inc Ludes,but is not limite4 to, the following:
     letters, reports, charts, diagrams, correspondence, telegrams, memoranda, notes, records,
     minutes, eontracts„ bills ofsale, agreements, records or notations of telephone .0r personal.
     conversations or conferences, interoffice communications, e-anail„ micto.film, 'bulletins,
     circulars, .parriphlets, photographs, faxes, invoices, tape recordings, computer!'.priritouts„
     drafts, rimunn6s, logs, worksheets and employment verifications.

  4. "Electronic or magnetic data" means .electronic :information that is stored. in a medium
     from Which.it can. be retrieved and examined. The term refers to the original(or identical
     duplicate when the original is not available) and any other copies of the data that may
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     have attached comments, notes, marks, or highlighting of any kind. Electronic or
     magnetic data includes, but is IOW limited to, the following: computer programs; operating
     systems; computer activity log.a, programming notes or instructions, e-mail receipts,
     messages, or transmissions; output resulting from the use of any software programs.
     including word-processing documents, spreadsheets, database files, charts, graphs,. 111141
     outlines; inetriciata; PIF and PDF files; batch files; deleted files; temporary fides; Internet-
     or web•browser-generated information 'stored in textual, graphical, or audio format,
     including history files,taches, and cookies„ and any miscellaneous files or file fragments.
     Electronic or magnetic data includes any items stored on magnetic, optical, digital, or
     other eleCtrelliCastorage media, such as hard drives, floppy disks, CD-ROMs, DVIDs,
     tapes,smart cards, integrated-circuit cards (e.g.. SIM cards), removable media,.(e.g., Zip
     drives, J' az cartridges., USB drives), microfiche and punched cards. Electronic or
      magnetic data also includes the file, folder, tabs, containers, and labels attached to or
      associated with any physical storage device with each original copy,

 5. 'Possession, custody, or control" of an item means that the person either has a physical
    possession of the item or has a. right to possession equal or superior to that ofthe person
    who his physical possession ofthe item,

 6. "Person" means any natural person, corporation, firm, association, partnership, joint
    venture, proprietorship, governmental body, or any other organization, business, or legal
    entity, and all predecessors or SUCCessorS in interest:

  7. "Mobile device" means any cellular telephone, satellite telephone, pager, personal digital
     assistant, handheld computer, electronic rolodex, walkie-talkie, or any combination of
     these,devices.

  8. Identify" or "describe," when referring to a person, means you must state the,
  following

                 a) The fall name:
                  b)The present or last known residential address and residential telephone
                    number.
                 c) The present or last known office address and office telephone number.
                 d) The occupation,job 'title, employer, and, employer's address at the time of
                    the event or period referred to in each particular interrogatory,
                 e) In the ease of any entity; Wendt, the officer, emptoyee; or agent most
                    closely connected with the subject matter of the interrogatory and the
                    officer who is responsible for supervising that officer or employee.

  9. Identify" or "describe," when referring to a document, means you must state the
  following;

                 a) The Aaiun ofthe document (e.g., letter, handwritten mote).
                  b)The title or heading that appears on the document.
                 c) The date of the document and the date of each addendum, supplement, or
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                   other addition or charg,e.
                d)The identities of the author, signer of the document, and person on whose
                   behalf or at whose request or direction the document was prepared or
                  delivered.
                e) The present location of the document and the name, address, position or
                   title, and telephone number of the person or persons having custody of the
                   document.

  10: The terms "Occurrence', "Incident," and "Aceidenr each refer to the trip, and fall
      identified in the FACTS section, above, on the date identified_

                         FIRST SET_QUINTERROGATORIES

INTERROGATORY NUMBER 1:                     Pleasv identify yourself, stating your full nante,
residential and business addresses, telephone number, and occupation, and if -Defendant is a
corporation,please state the office you hold with Defendant_

INTERROGATORY NUMBER 2:                     Was the Defendant in control of the area where
the incident made the basis of this suit is alleged to have occurred at the time the alleged
oecurrence happened? If not, please state the name and address of the entity that was in
COMM of the premises where the incident is alleged to have occurred at the time the alleged
occurrence happened.,

INTERROGATORY _NUMBER_ 3:                     Please describe how the Plaintiff's alleged
occurrence happened, giving all events in detail in the order in which they occurred, before,
at the time of, or after the oceurrenee, which had any'bearing on the cause and manner of the
happening ofthe occurrence-

INT
_KI___MOGATORY NUMBER •4t                   Please give the following information with
regards to the most recent examination or inspection of the area where the Plaintiff's alleged
occurrence happened hi the seventy-two hours prior to the happening ofthe occurrence;

     (e) the date and time of day of the examination or inspection;
     (b) the identification, including the name and address, for the person OT persons making
         the examination or inspection.;
     (c) in complete detail, what the examination or inspection consisted of;
     (4)in complete detail, what the ,examination or inspection revealed showed; and
     (e) in compete detail_ each and every act Or .activity done or undertaken by you or any
         agent or employee of the Defendant. as a result of any condition or circumstance
         disclosed by the examination or inspection,

1NTER_ROGATO                     R 5:       'Please state wilat precautlops, if any, Where taken.
by you or any agent or employee of the Defendant, prior to Plaintiff's alleged occurrence te
prevent injuries to persons such as Plaintiff while on the premises.

 INTF_               Y NUMBER 6:             Prior to the alleged occurrence, please explain
                                                                                           Electronically Submitted
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what notice, if any, you had of the condition that is alleged to have caused the incident made,
the basis of this lawseit,

INTERROGATORY NUMBER 7:                      Please state in detail what Defendant's policies
and procedures siee that its agente, employees, or representhtives are to follow when they
discover a COrtaition on the premises that could give rise to injury.

INTERROGATORY NUMBER 8:                       If you have had any other incidents prior to the
incident madeethe   basis of this lawsuit that are substantially similar and occurred at the same
or similar location where the incident made the basis of this suit occurred, please provide
details of those incidents, identify any document and photographs that reflect such incidents,
and identify witnesses and parties to these other incidents.

INTERRQGATORY NUMBER 9:                    Is it your usual custom and procedure to
investigate incidents where someone suggests or claims to have suffered an incident or injury
on your premises? if so, please describe that custom and procedure generally, and identify
how that procedure was employed and how it relates to the incident made the basis of this
lawsuit,

IN 1RROGATQRY NUMREJJO:                      Did Defendant conduct an investigation of the
incident that forms the basis ofthis suit?

                             REQUESTS FOR PRODUCTION

PRODUCE ALL OF THE FOLLOWING:

  I. Any contract between the owtter and the manager or managing firm at the time of the,
     plaintiffs injury, and for the year immediately preceding Plaintiff's injury.

  2.. Any lutes, management guide-lines, operating guidelines., or other similar writing or
      document that purports to show operating procedures for the managemeet. Ore,
      m aintenance, repair,and service of the premises in question.

  3. Contracts between the owner and any maintenance and/or repair service in effect al the
     tiarte ofPlaintifrsimjety.

  4. A copy of any legal documents that document Defendant's status. as a corporation,
     partnership, sole proprietorship,orjoint venture.

  5. Any contract between the owaer and any person or ,erttity responsible for caring for the
     premises at the time of Plaintiffs injuries,

  6. Any joint venture agreement between the parties or between any party to this suit and any
     nonparty regardieg the ownership, operation, repair, maintenance, advertising, security,
     or other service of or for the premises in question.
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 7. Any irtdemnity agreement between any ofthe parties to this case.

 8. Any indemnity .agreement between any party to this case and nonparty which is relevant
    to the accident and injuries made the basis of this suit

 9. Any rules, management guidelines, operating gnidclines, or other similar writing or
    document that purports. to Show operating .procedures lot the management care,
    niaintertance„ repair, and service ofthe premises in question.

  10. Any and all photographs that defendant has of the scene of accident or the resulting
      inparies to Plaintiff.

  1 1. Copies of any and all statements previously made by Plaintiff concerning the subject
       matter of this lawsuit, including any written statement, signed or otherwise adopted or
       approved by the Plaintiff hereto and any stenogranbic,. mechanical, electrical, or other
       type of recording or any transcription thereof made by Plaintiff hereto and
       contemporaneously recorded.

  12. Any and all drawings, maps,or Sketches ofthe scene of the accident that has been made
      the basis of this lawsuit.

  13. A copy ofany surveillance movies or photographs that have been made ofPlaintiff

  14. Any police report or other report of investigation of any governmental agency or private
      organintion relating to the occurrence in question.

  15. Any documents, reports, or other written records pertaining to any hwestigation
      pertaining to the incident made the basis of this lawsuit that is not privileged at law.

  16. Any and all books, documents, photographs, or other tangible things that may be used at.
      the time of trial,. which may have a bearing on this cause of action.

  P.The architectural plans and drawings for the premises in question, specifically with
    respect to the location where Plaintiff was injured,

  IS. All documents or tangible things prepared by any expert whom you expect to call as a
      witness, including, but not limited to. those that would include the experts reports, factual
     observations; opinions, conclusions, photographs, field notes, calculations, models, and
      exhibits.

  19. Any treatises or authoritative literature upon which any expert intends to rely in his or her
      testimony in this case.

  20. Copies of reports of all similar accidents prepared by any and all employees of the
      premises in question from Wal-Mart Associates, Inc dibia Wal-Mart Neighborhood
      Market,up to and through the present.
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  21. Any and all .s.ettlement agreements Wherein you have arrived at a settlement or agreement
     between you and other person, regardless. of -Whether a party to this lawsuit, regarding or
      pertaining to the incident made the basis of this lawsuit or any damages resulting
      therefrom.

  2.2. Any and all insurance agreements or policies under which any person or entity caning
      on an. insurance business may be liable to satisfy part or all of a judgment that may he
      rendered in this action or to indemnify or :reimburse for payments made to sad r the
      judgment.

   23. Any and alt work papers, notes, and documents in the field of any expert witness who is
      expected to testify, or in the Mc ofany expert witness who has written a report that is or
       will be relied upon in whole or in part by a testifying expert.

   24, All materials including, but not limited to, employee manuals, memoranda, and
       correspondence pertaining safety rules and/or regulations to be followed by the
       employees to ensure customer safety M Defendants stores. This includes any trading
       films and or videotapes used by Defendant concerning customer slips and/or falls.

                              REOUESTIOR,ADMISSIONS

1. Admit that on November 26, 2019 Wal-Mart .Associates„ Inc diVa Wal-Mart Neighborhood
   Market was in. control ofthe Wal-Mart Neighborhood Market including but not limited to the
   parking lots and walkways of the premises located at 1006 N Bryan 'Road, Mission, Hidalgo
   County, Texas 7E572.

2. Admit that Defendant Wal.Mart Associates, Inc dobia Wal-Mart Neighborhood Market did
   not delegate or ask any other company, entity, or person, other than Defendant Wal-Mart
   Associates, Inc d/b/a Wal-Mart Neighborhood Market's employms, to monitor walkways,
   parking lots or sidewalks on the premises on November 26, 2019.

3. Admit that the Defendant Wal-Mart Associates, Inc d/b/a Wal-Mart Neighborhood Market
   did not ask any of its agents or employees, to remove any eju-rbs located in the center of its
   parking lot floor on its premises or about November 25,2019.

4. Admit that the Defendant Wal-Mart Associates, Inc. dibia Wet-Mart Neighborhood Market
   did not ask any of its agents or employees, to remove any orbs located in the center of its
   parking lot floor on its premises or but November 26, 2019.



5, Admit that the Defendant Wal-Mart Associates, Inc d/b/a 'Wal-Mart Neighborhood Market
   did not ask. any of its agents or employees, to monitor any curbs located in the center of its
   parking tot floor on its premises or about November 25,2019
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6. Admit that the Defendant Wal-Mart Associates,'Inc, dibia Wal-Mart Neighborhood. Market
   did not ask any of its agents or employees, to monitor any curbs located in the center of its
   ,parking lot floor on its premises or about November 26,2019.

7, Admit that the Defendant. Wal-Mart Associates, Inc d/b/a. Wal-Mart Neighborhood Market
   did not ask any of its agents Or employees, to cover up or remove any curbs located in the
   center of its parking lot floor on its premises or about November 25,2019,

13. Admit that the Wal-Mart Associates, Inc dibla Wal-Mart Neighborhood Market did not ask
    any of its agents or employees, to cover up or remove any curbs located in the center of its
    parking lot floor on its premises or about November 26, 20 9.

9, Admit that the .Defendant Wal-Mart Associates, Inc Ma/a Wal-Mart'Neighborhood Market
    did not ask any of its agents or employees, to warn people about any curbs located in the
   ,center ofits parking lot floor on its premises or about November 25,2019..

 10_ Admit that the Defendant Wal-Mart Associates, Inc d/b/a Wal-Mart Neighborhood. Market
     did not ask any of its agents or employees, to warn people about any curbs located in the
     center ofits parking lot floor on its premises or about November 26,2019.

 1 1. Admit that no employee of Wal-Mart Associates, Inc dobia Wal-Mart Neighborhood Market
      covered up the area where Plaintiff fell with the curbs in question., located in the center ofits
      parking lot floor on its premises at any time prior to Plaintiffs fall on November 26,2019,

 12.. Admit that no employee of Wal-Mart Associates,'Inc dibta. Wal,Mart Neighborhood Market.
     attempted to remove the curb in question located in the: center of its parking lot floor on its
     premises at any lime from the .area where Plaintiff tell on November 26, 2019_

                                          JURY DEMAND

       Pursuant to Texas Rule of Civil Procedure 216, Plaintiff requests a trial by jury and
 would Show that the appropriate fee, is paid contemporaneously with the filing of this Petition:

                                              'PRAYER

 WHEREFORE, PREMISES CONSIDERED, Plaintiff Lazato Mendiola respectfully prays
 that the Defendant be cited to appear and answer hetein„ and that upon a final 'hearing of the
 cause,judgment be entered for the Plaintiff against Defendant for damages in an amount within.
 the jurisdictional limits of the Court; exemplary damages, excluding :interest, and as allowed by
 Sec. 41.008, Chapter 41, Texas Civil Practice and Remedies Code, together with pre-judgment
 interest(from the, date of injury through the. date ofjudgment) at the maximum rate: allowed by
 law;'post-judgment interest at the legal rate, costs of court; and such other and further relief to
 which the .Plaintiff:may be entitled at law or in equity.
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                                  Respectfully submitted,.

                                  LAW OFFICE OF CHRIS SANCHEZ,P.C.
                                  104 S 23rd Street
                                  McAllen, Texas 78501
                                  Phone:(956)686-4357
                                  Fax: (956)686-4362



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               PLAINTIFF HEREBY'DEMANDS TRIAL BY JURY
